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                                UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES

Date: August 7, 2024            Time: 1 hour 20 minutes          Judge: YVONNE GONZALEZ ROGERS
Case No.: 20-cv-3664-YGR        Case Name: Brown et al v. Google LLC et al



Attorney for Plaintiff: David Boies, Ryan McGee, Mark Mao, Amanda Bonn, Alexander Frawley,
                        James Lee, and John Yanchunis.
Attorney for Defendant: Stephen Broome, Teuta Fani, Andrew Schapiro, and Viola Trebicka
Movant: Barry Walker and Mark Potter

Deputy Clerk: Edwin Angelo A. Cuenco                   Court Reporter: Kendra Steppler; via Zoom


                                            PROCEEDINGS

    Motion to Intervene, Motion for Final Approval of Class Action Settlement, and Motion for
    Attorneys Fees – held.

    The Court heard argument in the motion to intervene, plaintiff’s motion for approval of class
    action settlement, and plaintiff’s motion for award of attorney’s fees, costs and service awards.

    Written order to issue.
